USCA4 Appeal: 24-1027     Doc: 27        Filed: 08/09/2024   Pg: 1 of 5




                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

         FX AVIATION CAPITAL LLC,                 |
                                                  |
                                                  |
                         Plaintiff-Appellant,     |               No. 24-1027
                                                  |
                                                  |          (6:22-cv-0154-HMH)
         v.                                       |
                                                  |
                                                  |
         LG AVIATION, INC., MARK                  |
                                                  |
         LIKER, HECTOR GUERRERO,                  |
         ANATOLY GALUNOV, STRATUS                 |
                                                  |
         AIRCRAFT N/KAAIRLUX                      |
         AIRCRAFT INC.,                           |
                                                  |
                                                  |
                   Defendants-Appellees.          |
         _____________________________            |



                            MOTION FOR EXTENSION OF TIME
                           TO FILE APPELLEES’ OPENING BRIEF


              Pursuant to Federal Rule of Appellate Procedure 27 and this Court’s Rule

        27, Defendants-Appellees LG AVIATION, INC. and MARK LIKER respectfully

        moves to extend the time allowed for filing its Response Brief by forty-five days,

        up to and including August 30, 2024.

              1.    On January 2, 2024, Plaintiff-Appellant FX Aviation Capital LLC

        (“FX”) filed a Notice of Appeal of the District Court’s Order granting summary

        judgment to FX with respect to Plaintiff-Appellant’s claims under the Racketeer

        Influenced and Corrupt Organizations Act (“RICO”).
USCA4 Appeal: 24-1027     Doc: 27        Filed: 08/09/2024   Pg: 2 of 5




              2.      On March 7, 2024, the Court issued an informal briefing order

        pursuant to which Plaintiff-Appellant’s informal opening brief is due on April 16,

        2024, and Defendants-Appellees Response Brief was due on May 16, 2024.

              3.      On April 3, 2024, the Court extended FX’s time to file its opening

        brief from April 16, 2024, to May 16, 2024, and Defendants-Appellees Response

        Brief was due on June 17, 2024.

              4.      On May 10, 2024, the Court extended FX’s time to file its opening

        brief from May 16, 2024, to May 30, 2024, and Defendants-Appellees Response

        Brief was due on July 1, 2024.

              5.      On June 26, 2024, this Court granted Appellees’ Motion for

        Extension of Time to File Appellees’ Opening Brief, extending Appellees’ to

        August 15, 2024. The Court did indicate that a further extension would be

        disfavored.

              6.      On August 6, 2024, the undersigned counsel for Appellees

        determined that he did not have the sealed Volume II of the so-called Joint

        Appendix filed on May 30, 2024. At that time, Craig Smith contacted Bill Foster,

        counsel for Appellant by email requesting a copy of the appendix. Mr. Foster did

        not respond. On August 8, 2024, Craig Smith called Mr. Foster and in speaking

        with Mr. Foster, requested a copy of the sealed Volume II. Mr. Foster only stated

                                                  1
USCA4 Appeal: 24-1027       Doc: 27        Filed: 08/09/2024   Pg: 3 of 5




        he would look into it. A follow up email was sent to Mr. Foster on August 8,

        2024. Mr. Foster has not responded.

              7.        On August 9, 2024, Craig Smith called this Court’s clerk to inquire

        about the sealed Volume II. The clerk indicated that no proof of service was in the

        Court’s file.

              8.        The Court has not set this matter for oral argument.

              9.        Appellees are requesting an extension up to and including August 30,

        2024, together with an order of this Court directing Appellant to electronically

        serve sealed Volume II on Appellees forthwith.

              10.       An extension of time will allow counsel for Defendants-Appellees

        LG AVIATION, INC. and MARK LIKER to complete work on the the Response

        Brief and any additional appendix.




                                                    2
USCA4 Appeal: 24-1027     Doc: 27        Filed: 08/09/2024   Pg: 4 of 5




              11.    For the reasons set forth in this motion, Defendants-Appellees LG

        AVIATION, INC. and MARK LIKER respectfully request that the Court grant

        their motion to extend the time for filing a brief on the merits up to and including

        August 30, 2024 and issue an order to Appellant to electronically serve sealed

        Volume II on Appellees forthwith.



        DATED: August 9, 2024            SMITH LAW FIRM, APLC


                                         By:   / Craig R. Smith
                                                CRAIG R SMITH, ESQ.
                                         Attorney for Defendants-Appellees
                                         LG AVIATION, INC. and MARK LIKER




                                                  3
USCA4 Appeal: 24-1027        Doc: 27       Filed: 08/09/2024   Pg: 5 of 5




                                       CERTIFICATE OF SERVICE

              I hereby certify that on August 9, 2024, a true and correct copy of the

        foregoing MOTION FOR EXTENSION OF TIME TO FILE APPELLEES'

        OPENING BRIEF, I electronically filed the foregoing document with the Clerk of

        the Court using CM/ECF. I also certify that the foregoing document is being

        served this day on all counsel of record via transmission of Notices of Electronic

        Filing generated by CM/ECF or in some other authorized manner for those

        counsel or parties who are not authorized to receive electronically Notices of

        Electronic Filing.



                                                          / Craig R. Smith
                                                        CRAIG R. SMITH




                                                    4
